URTTED SERVES DISTRICPCOURT FOR HE DiStRICTOF COLUMBIA

Robert Hunter Biden

Plaintiff
Case No.: 1:23-cv-02711-TJK

VS.
United States Internal Revenue Service

Defendant
AFFIDAVIT OF SERVICE

I, Justin Cohen, a Private Process Server, being duly sworn, depose and say:
That I have been duly authorized to make service of the Summons, Civil Cover Sheet, and Complaint in the above entitled case.
That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 09/18/2023 at 2:21 PM, I served United States Internal Revenue Service at 1111 Constitution Avenue, NW, Washington,
DC 20224 with the Summons, Civil Cover Sheet, and Complaint by serving Tina Williams, Designated Agent, authorized to accept
service.

Tina Williams is described herein as:

Gender: Female Race/Skin: Black Age: 30 Weight: 180 Height: 5'9" Hair: Black Glasses: Yes

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge,
information, and belief.

afl? fis th

Justin Cohen

Exebuted On

Client Ref Number: 106951.00001
Job #: 1623725

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
CEASE APRA HO OSUETAET IRM SY8eS Rage 2 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia

ROBERT HUNTER BIDEN

Plaintiff(s)
Vv.

UNITED STATES INTERNAL REVENUE SERVICE

Civil Action No.

Nee ee ee ee ee ee ee Se ee”

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) WS ovens, Service W

Washington, DC 20224

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Winston & Strawn LLP

Abbe David Lowell

1901 L Street, N.W.,
Washington, DC 20036

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date: _

Signature of Clerk or Deputy Clerk
